                        Nos. 24-50721 & 25-50096

             In the United States Court of Appeals
                     for the Fifth Circuit
              COMPUTER & COMMUNICATIONS INDUSTRY
                       ASSOCIATION, ET AL.,
                                        Plaintiffs-Appellees,
                               v.
          KEN PAXTON, ATTORNEY GENERAL, STATE OF TEXAS,
                                       Defendant-Appellant.
                            consolidated with
           STUDENTS ENGAGED IN ADVANCING TEXAS, ET AL.,
                                      Plaintiffs-Appellees,
                               v.
          KEN PAXTON, ATTORNEY GENERAL, STATE OF TEXAS,
                                     Defendant-Appellant.
             On Appeals from the United States District Court
             for the Western District of Texas, Austin Division
                    Case Nos. 1:24-cv-849 & 1:24-cv-945

     BRIEF OF AMICI CURIAE FLORIDA, 18 STATES, AND
       THE ARIZONA LEGISLATURE IN SUPPORT OF
               APPELLANT AND REVERSAL

                                      JAMES UTHMEIER
                                       Attorney General of Florida
DARRICK W. MONSON                     JEFFREY PAUL DESOUSA
Deputy Solicitor General               Acting Solicitor General
Office of the Attorney General        DAVID M. COSTELLO
PL-01, The Capitol                     Chief Deputy Solicitor General
Tallahassee, FL 32399                 KEVIN A. GOLEMBIEWSKI
(850) 414-3300                         Senior Deputy Solicitor General
                       Counsel for Amici Curiae
            CERTIFICATE OF INTERESTED PERSONS

                              No. 24-50721
     COMPUTER & COMMUNICATIONS INDUSTRY ASSOCIATION, ET AL.,
                                            Plaintiffs-Appellees,
                                    v.
           KEN PAXTON, ATTORNEY GENERAL, STATE OF TEXAS,
                                              Defendant-Appellant.
                                   and
                              No. 25-50096
            STUDENTS ENGAGED IN ADVANCING TEXAS, ET AL.,
                                               Plaintiffs-Appellees,
                                    v.
           KEN PAXTON, ATTORNEY GENERAL, STATE OF TEXAS,
                                              Defendant-Appellant.


     Under Fifth Circuit Rule 28.2.1, Amici Curiae, as governmental

parties, need not provide a certificate of interested persons.


                                              /s/ Kevin A. Golembiewski
                                              Counsel for Amici Curiae




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           INTRODUCTION AND INTEREST OF AMICI

     From whistleblowers and leaked internal documents, the public has

learned that social-media companies have known for years that their

products are ravaging children’s mental health. There is a “clear link”

between social-media use and our kids’ skyrocketing rates of depression,

anxiety,   self-harm,   and suicide.1   In   the words   of    the   Biden

Administration’s Surgeon General, “[o]ur children have become

unknowing participants in a decades-long experiment.”2

     State and federal governments have come together to take swift,

bipartisan action. Many States—including Texas and several Amici—

have passed laws regulating social-media platforms’ interactions with

vulnerable children, and more than 40 states have sued platforms for the

harm they have caused children.3 Several CEOs were recently subjected

to “a bipartisan thrashing” in the Senate Judiciary Committee, at which



     1 Decl. of Jean M. Twenge, Ph.D. ¶¶ 6, 59, CCIA v. Uthmeier,
No. 4:24-cv-438 (N.D. Fla. Oct. 28, 2024), ECF No. 51-1.
     2 Off. of the Surgeon Gen., Social Media and Youth Mental Health:

The       U.S.     Surgeon    General’s      Advisory     11         (2023),
https://tinyurl.com/33u2t7kn.
     3  Bobby Allyn, States Sue Meta, Claiming Instagram, Facebook
Fueled Youth Mental Health Crisis, NPR (Oct. 24, 2023),
https://tinyurl.com/y882nt5f.

                                   1
Mark Zuckerberg famously apologized to parents whose children had

been harmed by Meta platforms.4

     Yet in response, social-media companies have doubled down on

their nothing-to-see-here approach, refusing “access to [their] data” and

insisting on a “lack of transparency.”5 Much like tobacco companies years

ago, secrecy is their top priority—even in litigation. Rather than face the

public scrutiny that comes with litigation and the federal rules’

demanding party-discovery       requirements,   social-media companies

continue to hide behind trade associations NetChoice and CCIA. Not a

single regulated company has itself challenged Amici’s laws even though

this Court and a Supreme Court Justice have expressed skepticism that

platforms can hide behind their trade associations in federal court.6

     According to NetChoice and CCIA, tech conglomerates have a

constitutional veto for laws that protect children because their platforms




     4 Kalhan Rosenblatt et al., Senate Hearing Highlights: Lawmakers

Grill CEOs from TikTok, X and Meta About Online Child Safety, NBC
News (Jan. 31, 2024), https://tinyurl.com/2p9vvy62.
     5 Surgeon General Advisory, supra n.2 at 11.

     6 See NetChoice v. Paxton, 121 F.4th 494, 500 n.3 (5th Cir. 2024);

Moody v. NetChoice, 603 U.S. 707, 760 n.2 (2024) (Thomas, J., concurring
in the judgment).

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host speech. The First Amendment, they say, grants platforms a right to

give children of all ages personal accounts, exploit their developing brains

with addictive design features, expose them to sexual predators, and

drive them to self-harm and suicide—all while misleading the public

about their products.

     Amici have an interest in resisting social-media companies’ attempt

to distort the First Amendment and associational standing. The First

Amendment is not a shield for addicting children and destroying their

mental health in the name of corporate bottom lines. Nor is associational

standing a cloak that allows platforms to operate in the shadows,

wielding the First Amendment to escape regulation that the public

broadly supports without participating in federal courts’ adversarial

process.

     The district court erred in preliminarily enjoining Texas from

enforcing Tex. Bus. & Com. Code § 509.053. First, the First Amendment

allows States to regulate the business practices of companies that are

misleading the public and peddling a dangerous product to children.

Second, NetChoice and CCIA lack associational standing because their

facial challenge requires fact-finding about individual platforms. Last,


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NetChoice and CCIA did not meet their demanding burden to show that

the statute is facially unconstitutional because, at minimum, it can be

validly enforced against platforms that choose to profit off young

children. Platforms have no right to transmit harmful material to

children of “tender years.” Prince v. Massachusetts, 321 U.S. 158, 170

(1944).

                            ARGUMENT

I.   SOCIAL-MEDIA COMPANIES ARE MISLEADING THE PUBLIC AND
     HARMING CHILDREN.

     In recent years, mounting evidence has emerged that social-media

platforms are harming children. As child social-media use proliferated

over the last 15 years, adolescent depression rates more than doubled,7

and children experienced a rise in anxiety, low self-esteem, poor body

image, and eating disorders.8 Associated behaviors like self-harm and

suicide also “skyrocketed.”9 “Between 2010 and 2022, emergency room

admissions for self-harm increased 192% among 15- to 19-year-old girls”




     7 Twenge Decl., supra n.1 ¶ 15.

     8  Surgeon General Advisory, supra n.2 at 6–7; see also Twenge
Decl., supra n.1 ¶ 59.
     9 Twenge Decl., supra n.1 ¶¶ 17–18.


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and “an incredible 411% among 10- to 14-year-old girls.”10 “The suicide

rate among 10- to 14-year-old boys increased 166%,” and “the suicide rate

among 10- to 14-year-old girls increased 217%.”11 But for those spikes in

youth suicide, “3,604 more” sons and daughters “would be alive today.”12

     Studies reveal that the correlation is no coincidence: Social-media

use is a causal factor.13 Children who spend at least 3 hours a day on

social media double their likelihood of developing anxiety and

depression.14

     The harm does not stop there. Children are being victimized by

“predatory behavior”—including “sexual solicitation”—on platforms.15

For example, more than 25% of girls between ages 13 and 15 have

“receiv[ed] unwanted sexual advances on Instagram.”16 Senators Richard




     10 Id. ¶ 17.

     11 Id. ¶ 18.

     12 Id.

     13 Id. ¶¶ 34, 47.

     14 Id. ¶¶ 39, 47; Surgeon General Advisory, supra n.2 at 6.

     15 Twenge Decl., supra n.1 ¶ 22; see also Surgeon General Advisory,

supra n.2 at 9.
     16 Brian Fung, Execs Ignored the Damage Instagram Does to Teens,

Meta Whistleblower Tells Congress, CNN Business (Nov. 7, 2023),
https://tinyurl.com/ak3d34p9.

                                   5
Blumenthal and Marsha Blackburn wrote to Meta after “reports that

Instagram has harbored an open-air market for the sale of child sexual

abuse material and the trafficking of children.”17 The problem is

apparently so bad that Meta and Snap actively warn teen users of the

dangers of “sextortion” on their own platforms.18

     Platforms also market dangerous “challenges” to children, like “ten-

year-old Nylah Anderson.” Anderson v. TikTok, 116 F.4th 180, 181 (3d

Cir. 2024). TikTok, “via its algorithm, recommended and promoted” to

Nylah a video that “depicted the ‘Blackout Challenge,’ which encourages

viewers to record themselves engaging in acts of self-asphyxiation.” Id.

“After watching the video, Nylah attempted the conduct depicted in the

challenge and unintentionally hanged herself.” Id. Her mother found her




     17   Letter from Senators Richard Blumenthal and Marsha
Blackburn        to    Mark   Zuckerberg, June    21,  2023,
https://tinyurl.com/2s4j243y.
     18     Five    Ways      to    Respond    to    Sextortion, Meta,
https://tinyurl.com/292hmv44; What You Need to Know About Financial
Sextortion, Snap Inc., https://tinyurl.com/4vwn9f39.

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“lifeless body on the bedroom floor” and “rushed” her “to the hospital.” 19

She later died.20

     Even so, platforms have resisted any effort to research or mitigate

their products’ effects. As the U.S. Surgeon General recently explained,

researching the danger that platforms’ practices pose to children has

proven difficult because platforms do not allow “access to data” and insist

on a “lack of transparency.”21 Or as one former product manager at a

social-media company put it, “executives hide research about the social

network’s risks to keep its business humming.”22 Only because of

whistleblowers and accidental leaks do Americans know that platforms

have long been aware of the dangers their products pose to children.

     Meta, which operates Facebook and Instagram, is a prime example.

A whistleblower exposed internal research showing that many of




     19 Justin Rohrlich, A 10-year-old girl died during the viral ‘blackout

challenge.’ Now TikTok could be held liable, The Independent (Aug. 28,
2024), https://tinyurl.com/yw3ebwj2.
     20 Id.

     21 Surgeon General Advisory, supra n.2 at 11.

     22 Shannon Bond & Bobby Allyn, Whistleblower Tells Congress that

Facebook Products Harm Kids and Democracy, NPR (October 5, 2021),
https://tinyurl.com/yc4zex93.

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Instagram’s youngest users “felt addicted to the app,” “lacked the

wherewithal to limit their use of it,” and reported “that the app

contributed to their depression and anxiety.”23 Meta also acknowledged—

internally—that Instagram was causing nearly one third of adolescent-

girl users to develop body-image issues.24 Rather than roll back the

features it was privately acknowledging are addictive and destructive,

Meta pressed on and even sought to expand its products to younger

children. The company “commissioned strategy papers about the long-

term business opportunities” with preteens and discussed “whether there

might be a way to engage children during play dates.”25 Delivering its

products to more “tweens,” Meta explained in internal meetings, was

imperative because “[t]hey are a valuable but untapped audience.”26

     Leaked documents from TikTok showed that it too “was aware its

many features designed to keep young people on the app led to a constant




     23  Sue Halpern, Instagram for Kids and What Facebook Knows
About the Effects of Social Media, The New Yorker (Sept. 30, 2021),
https://tinyurl.com/y3vrehyh.
     24 Id.

     25 Id.

     26 Id.


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and irresistible urge to keep opening the app” and that such “compulsive

usage correlates with a slew of negative mental health effects like loss of

analytical skills, memory formation, contextual thinking, conversational

depth, empathy, and increased anxiety.”27 TikTok acknowledged that

features like infinite scroll were most likely to addict children, stating

that “across most engagement metrics, the younger the user, the better

the performance” because “[m]inors do not have executive function to

control their screen time.”28 And although TikTok has publicly touted

some features ostensibly aimed at reducing the platform’s addictive

effects—like allowing parents to set time limits and prompting users to

take a break—TikTok determined that those features “had little impact”

and are “not altogether effective.”29 But that did not matter because

TikTok adopted the features solely to give it “a good talking point with

policymakers.”30




     27 Bobby Allyn et al., TikTok Executives Know About App’s Effect on

Teens, Lawsuit Documents           Allege,    NPR     (Oct.   11,   2024),
https://tinyurl.com/4e5un4ru.
     28 Id.

     29 Id.

     30 Id.


                                    9
     Deceptive practices like Meta’s and TikTok’s have fueled the

Nation’s “youth mental health crisis.”31 The U.S. Surgeon General has

thus called on policymakers to develop “health and safety standards” for

platforms and to adopt “policies that further limit access . . . to social

media for all children”—like “strengthening and enforcing age

minimums.”32

     Texas and Amici have answered that call, passing laws that

regulate platforms’ harmful “commercial activity,” Ohralik v. Ohio State

Bar Ass’n, 436 U.S. 447, 456 (1978), to vindicate their “compelling

interest in protecting the physical and psychological well-being of

minors[.]” Sable Commc’ns of Cal. v. FCC, 492 U.S. 115, 126 (1989). In

response, NetChoice and CCIA have “roam[ed] the country” challenging

the laws, as platforms have been unwilling to defend their dangerous

practices themselves. FDA v. All. for Hippocratic Med., 602 U.S. 367,

379–80 (2024).




     31 Surgeon General Advisory, supra n.2 at 13; accord Twenge Decl.,

supra n.1 ¶ 26.
     32 Surgeon General Advisory, supra n.2 at 15.


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II.   NETCHOICE  AND CCIA LACK            ASSOCIATIONAL      STANDING     TO
      CHALLENGE SECTION 509.053.

      Associational standing is a “narrow exception” to Article III and the

prudential bar against asserting the constitutional rights of third parties.

Bano v. Union Carbide Corp., 361 F.3d 696, 715 (2d Cir. 2004); see also

All. for Hippocratic Med., 602 U.S. at 399 (Thomas, J., concurring);

United Food & Com. Workers Union Loc. 751 v. Brown Grp., 517 U.S.

544, 552 (1996). It allows an association that has not itself suffered an

injury in fact to challenge a law by asserting “its members’ injuries” and

rights. All. for Hippocratic Med., 602 U.S. at 399 (Thomas, J.,

concurring). Because associational standing is at odds with “th[e]

traditional understanding of the judicial power,” it should be permitted

only when an organization clearly satisfies its requirements. See id.;

Ass’n of Am. Physicians & Surgeons v. FDA, 13 F.4th 531, 542 (6th Cir.

2021); Indus. Energy Consumers of Am. v. FERC, 125 F.4th 1156, 1167–

68 (D.C. Cir. 2025) (Henderson, J., concurring).

      Associational standing has three requirements. “[A]n organization

must demonstrate” that (1) its members would have standing, (2) “the

interests it seeks to protect are germane to [its] purpose,” and (3) “neither

the claim asserted nor the relief requested requires the participation of

                                     11
individual members in the lawsuit.” Students for Fair Admissions v.

President & Fellows of Harvard Coll., 600 U.S. 181, 199 (2023). The

member-participation requirement is a problem for NetChoice and CCIA

in First Amendment cases like this one, where they facially challenge a

law that regulates a variety of internet platforms. See Moody, 603. U.S.

at 760 n.2 (Thomas, J., concurring); NetChoice v. Paxton, 121 F.4th 494,

500 n.3 (5th Cir. 2024) (instructing “the district court” to “thoroughly”

consider Texas’s argument that NetChoice lacked “associational

standing” for its facial challenge).

     That is so because such a challenge requires “individualized

information” about each covered platform. Friends for Am. Free Enter.

Ass’n v. Wal-Mart Stores, 284 F.3d 575, 577 (5th Cir. 2002). If a claim

requires fact-finding about different members, see Harris v. McRae, 448

U.S. 297, 321 (1980), rather than presenting “a pure question of law,”

then members must participate. Int’l Union v. Brock, 477 U.S. 274, 287

(1986); see also Friends for Am. Free Enter. Ass’n, 284 F.3d at 577; Free

Speech Coal. v. Att’y Gen., 974 F.3d 408, 421 (3d Cir. 2020) (“[C]onferring




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associational standing is improper for claims requiring a fact-intensive-

individual inquiry.” (quotation omitted)).

     NetChoice and CCIA’s facial challenge to Section 509.053 requires

a host of member-specific findings.33 Section 509.053, NetChoice and

CCIA argue, is facially unconstitutional because it interferes with

covered platforms’ “speech dissemination.” Mot. for Prelim. Inj. at 11,

NetChoice v. Paxton, No. 1:24-cv-849 (W.D. Tex. July 30, 2024), ECF

No. 6 (“HB18’s monitoring-and-censorship requirements unlawfully

restrict websites’ speech dissemination[.]”). But as the Supreme Court

made clear in Moody, a platform is not necessarily engaged in protected

expression simply because it engages in “speech dissemination.” Rather,

whether a platform’s “speech dissemination” constitutes expression turns

on specific facts about the platform’s functions and how it transmits

speech. See Moody, 603 U.S. at 725–26, 736 n.5; id. at 745–47 (Barrett,

J., concurring). Thus, resolving NetChoice and CCIA’s facial challenge

requires the district court to determine which, if any, applications of the




     33 The district court enjoined Section 509.053 based solely on
NetChoice and CCIA’s facial challenge. See CCIA v. Paxton, 747 F. Supp.
3d 1011, 1038 (W.D. Tex. 2024). It did not pass on their as-applied
challenges.

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statute implicate the First Amendment and then apply the appropriate

level of scrutiny to each such application. See id. at 725–26 (majority op.).

     Both steps are fact-intensive. The first step will require the district

court to determine all the functions on covered platforms that Section

509.053 applies to; the “level[] of editorial choice” that each function

involves; and whether and how the statute “intru[des] on” each protected

function. Id. Those questions depend on each platform’s operations.

Whether a platform’s feeds involve protected editorial judgment depends

on the nuances of the “algorithms” that the platform uses, id. at 734; id.

at 745–46 (Barrett, J., concurring); whether the feeds “exclude[]” certain

types of content, id. at 731 (majority op.); whether the platform relies on

“artificial intelligence” to operate the feeds, id. at 770, 795 (Alito, J.,

concurring in the judgment, joined by Thomas and Gorsuch, JJ.); and the

“corporate structure and ownership” of the platform. Id. at 746 (Barrett,

J., concurring). It matters if an algorithm “respond[s] solely to how users

act online,” or if the algorithm instead incorporates “a wealth of user-

agnostic judgments” about the kinds of speech it wants to promote. Id. at

736 n.5 (majority op.); see also id. at 745–46 (Barrett, J., concurring).

“[T]he same covered actor might [even] use a different algorithm . . . on


                                     14
different” feeds. Paxton, 121 F.4th at 499. “For example, it might be true

that X is a covered actor and that both its ‘For You’ feed and its

‘Following’ feed are covered services.” Id. “But it might also be true that

X moderates content differently or that its algorithms otherwise operate

differently across those two feeds.” Id.; see also NetChoice v. Bonta,

No. 5:24-cv-7885, 2024 WL 5264045, at *12, *18 (N.D. Cal. Dec. 31, 2024)

(concluding that NetChoice lacked associational standing because

platforms needed to participate to determine whether their feeds were

expressive), appeal pending, No. 25-146 (9th Cir.).

     On top of that, after identifying each application of Section 509.053

that affects the First Amendment rights of platforms, the district court

will have to apply the appropriate level of scrutiny to those applications.

See Moody, 603 U.S. at 724–26. “Given the diversity of circumstances

presented by” platforms, that too is an “individualized inquiry.” Free

Speech Coal., 974 F.3d at 422 (denying associational standing for as-

applied   First   Amendment     claims   because   they   “require[d]   an

individualized inquiry for each . . . member”). Each platform’s user base

is relevant, for instance. If many of the minors on a platform are young

children, then Texas would have an even greater interest in applying


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Section 509.053 to the platform since young children are more vulnerable

to “emotional excitement and psychological or physical injury.” Prince v.

Massachusetts, 321 U.S. 158, 169–70 (1944); see also infra 23–24. And if,

as NetChoice and CCIA contend, the “effective[ness]” of each platform’s

“content moderation” is relevant to tailoring, Complaint ¶ 29, NetChoice

v. Paxton, No. 1:24-cv-849 (W.D. Tex. July 30, 2024), ECF No. 1, then

Section 509.053’s provisions might be sufficiently tailored for “one

association member” but not another. Free Speech Coal., 974 F.3d at 422.

     Under similar circumstances, the Supreme Court has rejected

associational standing. Take Harris. The plaintiff-associations there

“sought to enjoin the enforcement of” a federal “funding restriction on

abortions,” alleging that it violated the Free Exercise Clause. 448 U.S. at

303–05. That claim required the plaintiffs to show that the restriction

had a “coercive effect” on the religious practices of individuals. Id. at 321.

The Supreme Court held that the plaintiffs lacked associational standing

because their members had a “diversity of [religious] view[s],” and so

examining     whether     the   restriction   burdened      them    required

individualized factual determinations. Id. Same here. NetChoice’s and

CCIA’s members operate a variety of platforms that all “disseminate


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speech” differently, Mot. for Prelim. Inj. at 2, NetChoice v. Paxton,

No. 1:24-cv-849 (W.D. Tex. July 30, 2024), ECF No. 6, and so examining

whether Section 509.053 burdens platforms’ expression requires the

district court to make factual determinations about the operations of each

platform. See Moody, 603 U.S. at 724–25; id. at 745–46 (Barrett, J.,

concurring).

     The district court erred in concluding that the availability of

“detailed   briefing    and   discovery”      makes   member   participation

unnecessary. CCIA v. Paxton, 747 F. Supp. 3d 1011, 1030 (W.D. Tex.

2024). For starters, that misunderstands the member-participation

requirement. As a matter of law, if findings about individual members

are necessary, members must participate. The district court held

otherwise because it construed the requirement as “prudential” and as

affording   courts     discretion   to    decide   whether   “administrative

convenience” warrants member participation. Id. But just because “a

standing requirement is prudential does not mean that its application is

discretionary.” Leaf Tobacco Exps. Ass’n v. Block, 749 F.2d 1106, 1112

(4th Cir. 1984) (Wilkinson, J.); accord Tax Analysts & Advocs. v.

Blumenthal, 566 F.2d 130, 137 n.37 (D.C. Cir. 1977). The member-


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participation requirement is “prudential and malleable by Congress”—

not courts. Brown Grp., 517 U.S. at 551. Congress can “abrogate” the

requirement by “authoriz[ing]” an association “to sue for its members[],”

id. at 558, but “lower federal courts lack similar authority.” Leaf Tobacco,

749 F.2d at 1112. They cannot pass on an association’s “claim” if it

“requires the participation of individual members.” Students for Fair

Admissions, 600 U.S. at 199.

     Nor can CCIA and “NetChoice’s claims . . . be proven by evidence

from representative injured members.” NetChoice v. Fitch, No. 24-60341,

2025 WL 1135279, at *2 (5th Cir. Apr. 17, 2025).34 Testimony from

YouTube about its algorithms, users, and accounts cannot substitute for

testimony from Facebook, Snap, X, TikTok, and other platforms. Five

Justices have already concluded that such platforms are diverse and that

First Amendment challenges pressing all their rights require fact-




     34  In Fitch, this Court held that NetChoice had associational
standing to challenge a different social-media law (Mississippi’s child-
social media law), see NetChoice v. Fitch, No. 24-60341, 2025 WL 1135279
(5th Cir. Apr. 17, 2025), but Mississippi did not argue that member
participation was necessary, see Br. for Defendant-Appellant at 20–30,
NetChoice v. Fitch, No. 24-60341, 2024 WL 4093160 (5th Cir. Apr. 17,
2025), and the Court only briefly addressed the issue. Fitch, 2025 WL
1135279, at *2–3.

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finding. Moody, 603 U.S. at 745-47 (Barrett, J., concurring); id. at 748–

49 (Jackson, J., concurring in part and in the judgment); id. at 786–93

(Alito, J., concurring in the judgment, joined by Thomas and Gorsuch,

JJ.).

        At any rate, “detailed” party discovery is meaningless here because

NetChoice and CCIA have limited information about their members.

CCIA, 747 F. Supp. 3d at 1030. In other litigation, NetChoice’s and

CCIA’s representatives have testified that they know little about their

members’ platforms. In a suit pending in Florida, NetChoice’s general

counsel testified that he “do[es]n’t know” whether any members even use

algorithms. Dep. of Bartlett Cleland at 58:8–59:2, 131:15–19, CCIA v.

Uthmeier, No. 4:24-cv-438 (N.D. Fla. Jan. 13, 2025), ECF No. 51-4. Nor

does he know whether “Meta does business around the world.” Id. at

32:8–11. And CCIA’s President and CEO testified that he only has

general knowledge of CCIA’s members, which he obtained from public

documents. See Dep. of Matthew Schruers at 28, 57:16–25, 58:15–24,

CCIA v. Uthmeier, No. 4:24-cv-438 (N.D. Fla. Jan. 13, 2025), ECF No. 51-

5. Both organizations also have admitted that they neither “know[]” nor

could “reasonably obtain[]” the “information” necessary to answer basic


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questions about their members’ functions. NetChoice & CCIA Disc. Resp.

at 16–18, 38–40, CCIA v. Uthmeier, No. 4:24-cv-438 (N.D. Fla. Jan. 13,

2025), ECF No. 51-8.

     The district court thus erred in holding that NetChoice and CCIA

have associational standing for their facial challenge.

III. NETCHOICE AND CCIA HAVE NOT SHOWN THAT SECTION 509.053 IS
     FACIALLY UNCONSTITUTIONAL.

     Section 509.053 requires covered platforms to adopt a “strategy” for

monitoring and filtering certain material for “known minor[s].” Tex. Bus.

&   Com.    Code   § 509.053(a).   That   requirement     is   not   facially

unconstitutional because, at minimum, it can be validly enforced against

platforms that choose to transmit the material to children of “tender

years.” Prince, 321 U.S. at 170. The First Amendment does not protect

platforms that “promote[]” “suicide,” “substance abuse,” “stalking,” and

“child pornography” to six-year-olds. Tex. Bus. & Com. Code § 509.053(a).

States have always had the power to regulate the activities of young

children.

     “The [Supreme] Court long has recognized that the status of minors

under the law is unique in many respects.” Bellotti v. Baird, 443 U.S. 622,

633 (1979) (plurality op.); Prince, 321 U.S. at 169–70. “[A]lthough

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children generally are protected by the same constitutional guarantees

against governmental deprivations as are adults, the State is entitled to

adjust its legal system to account for children’s vulnerability.” Bellotti,

443 U.S. at 635. “It is well settled that a State or municipality can adopt

more stringent controls on communicative materials available to youths

than on those available to adults” because “[t]he First Amendment rights

of minors”—and thus the First Amendment right to speak to minors—

“are not coextensive with those of adults.” Erznoznik v. City of

Jacksonville, 422 U.S. 205, 212, 214 n.11 (1975); see also FCC v. Pacifica

Found., 438 U.S. 726, 749–50 (1978) (upholding restrictions on

“offensive” and “indecent” radio broadcasts because they were “uniquely

accessible to children”). “[E]ven where there is an invasion of protected

freedoms[,] the power of the [S]tate to control the conduct of children

reaches beyond the scope of its authority over adults[.]” Bellotti, 443 U.S.

at 636 (quotation omitted); see also 2 John Locke, Two Treatises of

Government 216–17 (Routledge 1884) (“Children . . . are not born in this

full state of equality.”). And when States regulate speech involving

minors, “the age of the minor is a significant factor” in determining the




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scope of the First Amendment interests at stake. Erznoznik, 422 U.S. at

214 n.11.

     States have had more power to regulate children’s activities since

the Founding. See Houston Cmty. Coll. Sys. v. Wilson, 595 U.S. 468, 474

(2022) (“When faced with a dispute about the Constitution’s meaning or

application, long settled and established practice is a consideration of

great weight.” (quotation omitted)). At the Founding, minors were

deemed unable “to take care of themselves,” 2 James Kent,

Commentaries on American Law 191 (1827), and viewed as “lack[ing]

reason and decisionmaking ability.” Brown v. Ent. Merchants Ass’n, 564

U.S. 786, 826 (2011) (Thomas, J., dissenting). The Founding generation

therefore “imposed age limits on all manner of activities” to protect

minors. Nat’l Rifle Ass’n v. Bondi, 133 F.4th 1108, 1123 (11th Cir. 2025)

(en banc) (quotation omitted). Minors could not enlist in the military

without parental consent. See id. at 1117 (citing the Act of March 16,

1802, ch. 9, sec. 11, 2 Stat. 132, 135). States “set age limits restricting

marriage without parental consent.” Brown, 564 U.S. at 834 (Thomas, J.,

dissenting). Minors also had no right to their wages—their parents

“received the profits” of their labor. Bondi, 133 F.4th 1117 (quotation


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omitted); William Macpherson, Treatise on the Law Relating to Infants

517 (1843) (“A father frequently sends out his son to work as journeyman,

and his earnings are taken to be the father’s.”).

     Nor did minors have access to the same speech as adults. “Parents

controlled children’s access to information, including books,” Bondi, 133

F.4th at 1117, and States prohibited “[e]ntertaining . . . [c]hildren”

without parental consent. Juries verdict agst Alice Thomas, Volume 29:

Records of the Suffolk Cnty. Ct. 1671-1680 Part 1, pp. 82–83, available

at https://www.colonialsociety.org/node/660; see also Book of the Gen.

Laws and Liberties of Mass. 137 (1649) (penalizing “entertain[ing]”

children “to the dishonour of God and grief of their parents”). Because

they were “[p]resumed by law to lack the capacity of adults, children

[were] denied full participation in the political, legal and social

processes.” Michael S. Wald, Children’s Rights: A Framework for

Analysis, 12 U.C. Davis L. Rev. 255, 256 (1979). “[D]ecisionmaking

autonomy [w]as a precondition for the exercise of many of the most

important rights in a liberal state, including . . . freedom of speech.” Anne

C. Dailey, Children’s Constitutional Rights, 95 Minn. L. Rev. 2099, 2106–

07 (2011).


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     This longstanding “power” to regulate “children’s activities” is at its

zenith for children of “tender years.” Prince, 321 U.S. at 168–70. For one,

the State has a greater interest in protecting those children because they

are more vulnerable to “emotional excitement and psychological or

physical injury.” Id. at 170; see also Bethel Sch. Dist. No. 403 v. Fraser,

478 U.S. 675, 683–84 (1986) (explaining that certain “speech could well

be seriously damaging” to younger children). For another, the First

Amendment interests of young children are lower because they “are at a

stage in which learning how to develop relationships and behave in

society is as or even more important than their forming particular views

on controversial topics.” Walker-Serrano ex rel. Walker v. Leonard, 325

F.3d 412, 417 (3d Cir. 2003).

     Texas’s law fits within this historical tradition. It does not on its

face exceed the State’s power to regulate children’s activities because the

State can validly regulate the transmission of certain speech to young

children. See Fraser, 478 U.S. at 683–84. Given the Nation’s “customary

limitations” on young children, regulations aimed at them are “subject to

less than the strictest level of scrutiny.” Schleifer v. City of




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Charlottesville, 159 F.3d 843, 847 (4th Cir. 1998) (Wilkinson, J.).35 And

Section 509.053 satisfies strict scrutiny as applied to those children, let

alone a less-exacting standard.

                            CONCLUSION

     This Court should reverse the district court’s grant of a preliminary

injunction.




     35 See also Hutchins v. Dist. of Columbia, 188 F.3d 531, 541 (D.C.

Cir. 1999) (“[A] lesser degree of scrutiny is appropriate when evaluating
restrictions on minors’ activities where their unique vulnerability,
immaturity, and need for parental guidance warrant increased state
oversight.”); cf. Carey v. Population Servs. Int’l, 431 U.S. 678, 693 n.15
(1977) (plurality op.) (When children are involved, the level of scrutiny
“is apparently less rigorous than the ‘compelling state interest’ test
applied to restrictions on the privacy rights of adults[.]”).

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May 5, 2025   Respectfully submitted,

               JAMES UTHMEIER
                Attorney General of Florida

               /s/ Kevin A. Golembiewski
               JEFFREY PAUL DESOUSA
                Acting Solicitor General
               DAVID M. COSTELLO
                Chief Deputy Solicitor General
               KEVIN A. GOLEMBIEWSKI
                Senior Deputy Solicitor General
               DARRICK W. MONSON
                Deputy Solicitor General
               Office of the Attorney General
               PL-01, The Capitol
               Tallahassee, FL 32399-1050
               (850) 414-3300
               (850) 414-2672 (fax)
               kevin.golembiewski@
                myfloridalegal.com

               Counsel for Amici Curiae




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                   ADDITIONAL SIGNATORIES

STEVE MARSHALL                         AUSTIN KNUDSEN
Attorney General of Alabama            Attorney General of Montana

STEVE MONTENEGRO                       MIKE HILGERS
Speaker of the Arizona                 Attorney General of Nebraska
House of Representatives
                                       DAVE YOST
WARREN PETERSEN                        Attorney General of Ohio
President of the Arizona Senate
                                       ALAN WILSON
TIM GRIFFIN                            Attorney General of South
Attorney General of Arkansas           Carolina

CHRIS CARR                             MATT RICE
Attorney General of Georgia            Tennessee Solicitor General

RAUL LABRADOR                          STANFORD PURSER
Attorney General of Idaho              Utah Solicitor General

THEODORE E. ROKITA                     JASON S. MIYARES
Attorney General of Indiana            Attorney General of Virginia

BRENNA BIRD                            BRIDGET HILL
Attorney General of Iowa               Attorney General of Wyoming

KRIS W. KOBACH
Attorney General of Kansas

RUSSELL COLEMAN
Attorney General of Kentucky

LIZ MURRILL
Attorney General of Louisiana

ANDREW BAILEY
Attorney General of Missouri


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                    CERTIFICATE OF SERVICE

     I certify that on May 5, 2025, I electronically filed this amicus brief

with the Clerk of Court using the Court’s CM/ECF system, which will

send a notice of docketing activity to all parties who are registered

through CM/ECF.

                                         /s/ Kevin A. Golembiewski
                                         Senior Deputy Solicitor General




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                 CERTIFICATE OF COMPLIANCE

     1.    This amicus brief complies with Federal Rule of Appellate

Procedure 29(a)(5) and Fifth Circuit Rule 29 because, excluding the parts

exempted by Federal Rule of Appellate Procedure 32(f), it contains 4,656

words.

     2.    This amicus brief also complies with the typeface and type-

style requirements of Federal Rules of Appellate Procedure 29 and

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prepared in a proportionally spaced typeface in 14-point Century

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                                        Senior Deputy Solicitor General




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